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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANDREW GREEN,

Plaintiff, :

V. : 3:16-CV-1041
: (JUDGE MARIANI)

PIKE COUNTY

Defendant.

MEMORANDUM OPINION
|. INTRODUCTION

This is an employment action arising from Plaintiff Andrew Green’s termination by
Defendant Pike County (the “County”). Before his termination, Mr. Green was a sergeant
correctional officer for the Pike County Correctional Facility. He was terminated by a letter
from the Correctional Facility’s Warden, dated September 9, 2014, citing excessive
unexcused absences and poor work performance. Green brings a Monell action against
Pike County pursuant to 14 U.S.C. § 1983, alleging (1) discrimination and retaliation based
on his request for an accommodation for his depression under the Americans with Disability
Act (the “ADA”), and the Pennsylvania Human Relations Act (the “PHRA’), (2)
discrimination and retaliation under the Rehabilitation Act, and (3) interference and
retaliation claims under the Family and Medical Leave Act (the “FMLA”). Doc. 1. The
parties have proceeded to discovery without filing motions to dismiss. Pike County filed its

motion for summary judgment on June 15, 2017. Doc. 21. The parties have fully briefed
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the motion, and it is ripe for decision. For the reasons set forth below, Defendant's motion
for summary judgment will be denied.
Il. STATEMENT OF UNDISPUTED FACTS

The County has submitted a Statement of Material Facts as to which it submits there
is NO genuine issue or dispute for trial. Doc. 22. In response, Green submitted responses
to the Statement of Material Facts as well as a supplemental “Counterstatement of Material
Facts.” Doc. 26-3. The following facts are not reasonably in dispute except as noted.

Green was employed by Pike County at the Pike County Correctional Facility from
August 30, 2010 to September 9, 2014. Doc. 22 § 1. Green was first hired as a
correctional officer, but was promoted to Sergeant on August 5, 2012. Id. 43. On August
6, 2014, Assistant Warden Robert McLaughlin sent a letter to Mr. Green recommending
termination (the “McLaughlin letter’). Doc. 22-2. The letter was issued after an
“Investigatory Interview scheduled for August 6, 2014 [to discuss] certain charges /
allegations against [Green].” /d. at 1. Due to Green’s failure to show up at the Interview,
the “proceeding was held in absentia.” Id. The letter bases its recommendation on Green’s
history of poor work performance, including frequent absences and “willful misconduct,”
including failures to be attentive to his Sergeant duties, permitting officers he supervised to
leave early, unprofessional comments to inmates, failures to follow policies or directives for
inmate cell phone searches, and failure to arrange a required inmate medical transport. /d.

at 1-3. See also Doc. 22 Jf 20-21.

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According to the letter, Green's “absence from work [] began [on] July 11, 2014,” but
he “never submitted a written report, or filed a workers compensation claim” for his
absences. /d. at 3. The letter acknowledges that “[o]n August 18, 2014 [Green] spoke with
Facility Personnel Liaison Jill Gschwind and conveyed that [he] didn’t know [he] had to file a
report and stated that [he] didn’t know how [he] could have because [he] had a nervous
breakdown.” /d.1 However, McLaughlin discounted Green's justification for failing to file the
required paperwork, stating: “[a]s a Sergeant with two (2) years of experience and the
responsibility of ensuring adherence to workers compensation protocols...| find it difficult to
believe you didn’t know you were required to file a report. | also conclude that you could
have filed a written report within a reasonable time frame, which you have not.” /d.
McLaughlin concluded that he will recommend termination to Warden Lowe. /d.

On September 9, 2014, approximately a month after the McLaughlin letter, Warden
Craig Lowe sent Green a termination letter, citing his absences and poor work performance
as reasons for termination. Doc. 22-3. In particular, the termination letter recounted an
incident when Deputy Warden Romance and other officers called Green for help when
“inmates were throwing soap out of their cells into the dayroom[,] nearly hitting Correctional
Officer Christensen,” and Green provided an “inappropriate substandard response to this

situation” by telling Christensen: “They are staying locked down” and then hanging up the

‘ Even though the McLaughlin letter is dated August 6, 2014, it recounts a conversation between
Green and Jill Gschwind as having occurred on August 18, 2014. Neither party has explained this
inconsistency. The Court presumes that the letter contained a typographical error, and that the
conversation occurred on July 18, 2014.

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phone on him. /d. at 1. The letter also noted that Green had “been absent from work since
July 11, 2014” and had accrued “thirty-eight (38) days off as leave without pay which is
considered by definition an unauthorized or unexcused absence.” /d.

The facts above, unfortunately, are all that the parties can agree upon. The County's
statement of facts contains no other assertions except legal conclusions or conclusions
based on an absence of evidence, all of which are disputed by Green. Doc. 22 Jf 7-17, 19.
For example, the statement of facts claims that (1) “Green never asked the County to
accommodate a disability”; (2) “Green provided nothing in discovery to support his claim
that he suffered a disability that substantially limited at least one major life activity”; (3)
“Green never provided Pike County with medical reports reflecting he suffered a physical or
mental impairment that substantially limited one or more of the major life activities”; (4)
“Green never even applied for FMLA leave”; and (5) “Pike County did not retaliate against
Green for pursuing his FMLA rights because he never asked for such leave.” /d. Most of
these statements are asserted without evidentiary support, though the County has cited to
the record in two instances, both of which rely on snippets of Green's deposition testimony,
which were included in the statement of facts without context. First, the County asserts that
Green “never asked the County to accommodate a disability,” and cites to several lines of
Green's deposition where he agreed that “nowhere in these 20 pages of record did [he]
request any sort of accommodation or reference any type of mental or...health condition of

any sort.” /d. | 7. However, it is unclear from the citation alone what “these 20 pages of

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record” referred to. It was not until the Court reviewed the actual relevant portion of the
testimony that it became clear that Green was testifying about a record of a February 27,
2013 Investigative Interview involving him. Doc. 22-1 at 23-25. Given that the relevant
events of this case occurred in the summer of 2014, the fact that Green did not request an
accommodation more than a year prior to his termination does not conclusively establish
that he had never requested an accommodation. Second, the County also pointed to
Green's testimony as support for the proposition that Green “never even applied for FMLA
leave,” but the cited portion only reflects Green’s testimony that he “gave [his doctor] Dr. Al-
Tariq FMLA short term disability and workman's comp paper’ and that his “understanding
was that [Dr. Al-Tariq] would fill out the appropriate paperwork and submit it [to his
employer].” /d. § 17 (citing Doc. 22-1 at 89-90). Green testified that he “never asked the
question again until [he] was told by the Facility that they had not received the paperwork.”
Id.

Most troublingly, the above encompasses the entirety of the County's statement of
facts on which it relied for its motion. It is not until Green filed his own “counterstatement of
facts” that the Court is apprised of an additional—but equally important—set of facts, to
which the County did not provide any responses, nor did it file a reply brief addressing these
additional facts, when it had the option to do so. The Court thus has little aid in verifying
Green's counterstatement of facts. However, at least some of Green’s statements of fact

are supported by undisputed documentary evidence, which the Court sets forth below.

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First, Green submitted an August 1, 2014 email from him to Deputy Warden
Romance. The email predates the McLaughlin letter by five days, and predates his
termination by approximately a month. Compare Doc. 26-6 (the “August 1 email”) with Doc.
22-2 (the McLaughlin letter dated August 6, 2014) and Doc. 22-3 (the termination letter
dated September 9, 2014). The County admitted to the existence of the email in its Answer
to the Complaint. Doc. 7 at 10-11 (admitting that “on August 1, 2014, Green emailed
Jonathan Romance complaining of excessive workload,” but “deny[ing] Green had a
disability that required accommodation, that he asked for accommodation{,] or that his
termination was disability related”). The email, which was filed as an exhibit to Green’s
counterstatement of facts, contains a summary of Green’s efforts to keep the County
apprised of his mental health condition and his efforts to request medical leave. It states in
relevant part:

Please be advised that as you are aware and your records will show, | did
speak with you via telephone on 7/1/14 and informed you that | was in need of
urgent assistance as a result of excessive workload. | was distressed and
believed that without such assistance | would be unable to complete all of my
duties for the shift In accordance with the SOPs...On 7/10/14 | did consult a
specialist who immediately placed me on medical leave for a period of two
weeks. As a result | faxed in the doctor[’s] order and did contact Jill Gschwind,
the personnel director[,] several hours prior to the beginning of my shift. | was
placed on hold and she told me that she was going to Inform the Warden. A
moment later she returned and informed me that she had informed the
Warden of the situation. Jil/ also informed me that | should come to the
Facility and retrieve FMLA and short term disability paperwork which | did. At
that time, while | was aware that an Investigatory [Interview] had been served
to me on 7/10/14 and scheduled for 7/18/14, | was unable to attend that
Interview as | was under specific directives from my doctor not to return to
work. On 7/25/14 in my recent consultation with my doctor | was diagnosed as

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having a work related stress disorder which resulted in the Doctor filling out
and forwarding workers compensation paperwork. He also extended my
medical leave for an additional four weeks. On 8/1/14 | did receive a certified
letter containing documents referring [me] to a second Investigatory Interview
scheduled for 8/6/14. | shall be unable to attend that Interview as | remain
under directive from my doctor to be away from the Facility. Consistent with
the foregoing, and the code and practice extended to others who have been
scheduled with Investigatory Interviews while on medical leave and have

been granted a deferral of date, | respectfully request that these two
Investigatory interviews be differed [sic] until such time as | am medicalfly]
cleared to return to work. At that time | shall be happy to cooperate in any way
possible to clear up these issues and look forward to continuing to perform my
duties. | look forward to your reply.

Doc. 26-6, at 2-3 (emphasis added). In addition to the email, Green also submitted

two communications that his doctor sent to the County before his termination. The first is a

fax to “Jill” (presumably referring to the County’s personnel director Jill Gschwind), dated

July 25, 2014, stating that “pt is still very depressed [and] progress is limited. Needs

another 4 weeks off from work.” Doc. 26-9.2 The second doctor's communication was a
letter dated August 22, 2014, sent from Dr. Al-Tarig to the County, stating that Green is “not
ready to return to work” and that he will need to reevaluate Green in 8 to 12 weeks. Doc.
26-10. Finally, Green filed the deposition transcript of Jill Gschwind as an exhibit, in which
she testified that she received Green’s doctors’ notes; that she shared them with Warden
Lowe, since her standard practice was to “always give the doctor's notes to the Warden”:
that she recalled leaving FMLA and short-term disability paperwork for Green to pick up at

her office “because he advised me he was going to be out of work for some time”; and that

2 Green avers that “this note was included in Defendant's document production.” Doc. 26-3 | 21.
However, without any response from the County, the Court has no way of verifying whether this is true.

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Warden Lowe would have been aware of Green’s request for FMLA paperwork because she
“always kept [his office] apprised” of FMLA requests. Doc. 26-12 at 16-19.

As discussed above, the County never filed responses to Green's counterstatement
of facts, nor did it file a reply brief, which would have clarified which facts are disputed, and
whether the authenticity of any of Green’s exhibits are disputed. Given the County's
admission to the existence of the August 1 email, Ms. Gschwind’s testimony corroborating
the County’s receipt of the doctors’ communications, and the County’s failure to dispute the
email or the doctor communications, the Court will construe these documents as
undisputed.

Il. STANDARDS OF REVIEW

Through summary adjudication, the court may dispose of those claims that do not
present a “genuine dispute as to any material fact.” Fed. R. Civ. P. 56(a). “As to materiality,
...[o]nly disputes over facts that might affect the outcome of the suit under the governing law
will properly preclude the entry of summary judgment.” Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986).

The party moving for summary judgment bears the burden of showing the absence
of a genuine issue as to any material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106
S. Ct. 2548, 91 L. Ed. 2d 265 (1986). Once such a showing has been made, the non-
moving party must offer specific facts contradicting those averred by the movant to establish

a genuine issue of material fact. Lujan v. Nat'l Wildlife Fed’n, 497 U.S. 871, 888, 110 S. Ct.

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3177, 111 L. Ed. 2d 695 (1990). Therefore, the non-moving party may not oppose summary
judgment simply on the basis of the pleadings, or on conclusory statements that a factual
issue exists. Anderson, 477 U.S. at 248. “A party asserting that a fact cannot be or is
genuinely disputed must support the assertion by citing to particular parts of materials in the
record .. . or showing that the materials cited do not establish the absence or presence of a
genuine dispute, or that an adverse party cannot produce admissible evidence to support
the fact.” Fed. R. Civ. P. 56(c)(1)(A)-(B). In evaluating whether summary judgment should
be granted, “[t]he court need consider only the cited materials, but it may consider other
materials in the record.” Fed. R. Civ. P. 56(c)(3). “Inferences should be drawn in the light
most favorable to the non-moving party, and where the non-moving party's evidence
contradicts the movant’s, then the non-movant’s must be taken as true.” Big Apple BMW,
Inc. v. BMW of N. Am., Inc., 974 F.2d 1358, 1363 (3d Cir. 1992), cert. denied 507 U.S. 912,
113 S. Ct. 1262, 122 L. Ed. 2d 659 (1993).

However, “facts must be viewed in the light most favorable to the nonmoving party
only if there is a ‘genuine’ dispute as to those facts.” Scoft v. Harris, 550 U.S. 372, 380, 127
S. Ct. 1769, 167 L. Ed. 2d 686 (2007). If a party has carried its burden under the summary
judgment rule,

its opponent must do more than simply show that there is some metaphysical

doubt as to the material facts. Where the record taken as a whole could not

lead a rational trier of fact to find for the nonmoving party, there is no genuine

issue for trial. The mere existence of some alleged factual dispute between

the parties will not defeat an otherwise properly supported motion for
summary judgment; the requirement is that there be no genuine issue of

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material fact. When opposing parties tell two different stories, one of which is

blatantly contradicted by the record, so that no reasonable jury could believe

it, a court should not adopt that version of the facts for purposes of ruling on a

motion for summary judgment.

Id. (internal quotations, citations, and alterations omitted).
Ill. ANALYSIS

Green has brought ADA and PHRA claims for discrimination and retaliation based on
his request for medical leave for his depression. “The PHRA is basically the same as the
ADA in relevant respects and ‘Pennsylvania courts...generally interpret the PHRA in accord
with its federal counterparts.” Rinehimer v. Cemcolift, Inc., 292 F.3d 375, 382 (3d Cir.
2002) (quoting Kelly v. Drexel University, 94 F.3d 102, 106 (3d Cir.1996)). The McDonnell
Douglas burden-shifting framework applies to claims brought under the ADA. Walton v.
Mental Health Ass'n. of Se. Pennsylvania, 168 F.3d 661, 667-68 (3d Cir. 1999). First, the
plaintiff has the burden of making a prima facie case.

‘[T]o establish a prima facie case of discrimination under the ADA, the plaintiff must
show: ‘(1) he is a disabled person within the meaning of the ADA; (2) he is otherwise
qualified to perform the essential functions of the job, with or without reasonable
accommodations by the employer; and (3) he has suffered an otherwise adverse
employment decision as a result of discrimination.” Taylor v. Phoenixville Sch. Dist., 184
F.3d 296, 306 (3d Cir. 1999) (quoting Gaul v. Lucent Technologies, 134 F.3d 576, 580 (3d

Cir.1998). “[A]n employer discriminates against a qualified individual with a disability when

the employer does ‘not mak[e] reasonable accommodations to the known physical or mental
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limitations of the individual unless the [employer] can demonstrate that the accommodation
would impose an undue hardship on the operation of the business of the [employer].”” /d.
(quoting 42 U.S.C. § 12112(b)(5)(A)). “To satisfy the requirement of having a ‘disability’ a
plaintiff may demonstrate any one of: an actual mental or physical impairment that
substantially limits one or more major life activities, a record of such impairment, or that his
employer regarded him as having a disability.”. Macfarlan v. Ivy Hill SNF, LLC, 675 F.3d
266, 274 (3d Cir. 2012) (citing Marinelli v. City of Erie, 216 F.3d 354, 359 (3d Cir.2000)).

“To establish a prima facie case of retaliation under the ADA, a plaintiff must show:
(1) protected employee activity; (2) adverse action by the employer either after or
contemporaneous with the employee's protected activity; and (3) a causal connection
between the employee's protected activity and the employer's adverse action.” Krouse v.
Am. Sterilizer Co., 126 F.3d 494, 500 (3d Cir.1997). “The burden-shifting scheme
established in McDonnell Douglas also applies to retaliation claims.” Bernhard v. Brown &
Brown of Lehigh Valley, Inc., 720 F. Supp. 2d 694, 703 (E.D. Pa. 2010).

After the plaintiff makes his prima facie case, the burden “shifts to the employer to
‘articulate some legitimate, nondiscriminatory reason for the [adverse employment action].”
Walton, 168 F.3d at 668 (quoting Fuentes v. Perskie, 32 F.3d 759, 763 (3d Cir.1994)).
Once the employer states a legitimate, nondiscriminatory reason for its action, the burden

shifts back to the plaintiff in the third and final step of the framework, where plaintiff must

“point to some evidence, direct or circumstantial, from which a fact finder could reasonably

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either (1) disbelieve the employer's articulated legitimate reasons; or (2) believe that an
invidious discriminatory reason was more likely than not a motivating or determinative cause
of the employer's action.” /d. (internal quotation marks omitted).

The County concedes that Green's termination is an adverse employment action, but
argues that Green has not proven that he is disabled under the ADA because “Green never
provided the medical proof for the County to have evaluated whether it could accommodate
his disability and whether he even had a qualified disability under the ADA.” Doc. 23 at 11.
However, the County's own motion papers fail to address, or even acknowledge the
existence of, Green’s doctor's notes that were sent to the County prior to his termination.
The notes, which were forwarded to the County on July 25, 2014 and August 22, 2014,
stated that Green was “still very depressed [and] progress is limited,” that he was “not ready
to return to work,” that he needed continued leave from work, and that he required medical
reevaluation at a later time. Docs. 26-9, 26-10.

These doctor communications are not rebutted by the County. There is also no
record of the County evaluating the medical opinions in these doctor's notes, even though
there is evidence showing that the County was in receipt of these notes and the
accompanying request for medical leave before Green's termination. See Doc. 26-6 at 2-3
(the August 1 email showing that Green “faxed the doctor’s order to Jill Gschwind, the
County’s personnel director,” that she purportedly informed the Warden of the situation, and

that she advised him of the next steps in requesting FMLA leave, including asking him to

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complete FMLA paperwork); Doc. 26-12 at 16-18 (Jill Gschwind testifying that she received
the doctor's communications from Green and that she shared them with the Warden).

Furthermore, Green’s doctor indicated that reevaluation would be needed in 8 to 10
weeks to determine whether Green may return to work (Doc. 26-10), which suggests that
his condition is not so minor or transitory as to preclude him from arguing that his
depression constituted a disability under the ADA. See, e.g., Williams v. Philadelphia Hous.
Auth. Police Dep't, 380 F.3d 751, 765, 766 n.8 (3d Cir. 2004) (reversing district court’s grant
of summary judgment, and finding that “a reasonable jury could conclude that Williams’s
[depression] was not a temporary one, and would not be precluded from reaching a finding
of actual disability,” based on the doctor’s “lack of [] assurance” that “treatment would
improve [plaintiff's] condition in the future,” and on the doctor's written recommendation that
plaintiff refrain from active duty work “for a minimum period of 3 months,” at which time he
must be “reevaluated...in order to determine whether or not he can resume active duty.”);
Rubano v. Farrell Area Sch. Dist., 991 F. Supp. 2d 678, 692 (W.D. Pa. 2014) (granting
summary judgment on other grounds, but finding that “[cJlearly, Rubano’s documented
history of depression, which necessitated two FMLA leaves for clinical and pharmaceutical
treatment in 2010 and 2011, constitutes a mental impairment under the ADA’).

Green has also established that he was denied a reasonable accommodation for his
request for medical leave. “A leave of absence for medical treatment may constitute a

reasonable accommodation under the ADA.” Bernhard v. Brown & Brown of Lehigh Valley,

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Inc., 720 F. Supp. 2d 694, 701 (E.D. Pa. 2010) (citing Conoshenti v. Public Serv. Elec. &
Gas Co., 364 F.3d 135, 151 (3d Cir.2004)). While the County's motion papers do not
mention Green’s August 1 email to Deputy Warden Romance, the County did admit to the
existence of such an email in its Answer to the Complaint. See Doc. 7 at 10-11. The
August 1 email reveals that Green had “consult[ed] with a specialist who immediately placed
[him] on medical leave for a period of two weeks,” that he faxed the doctor's order to Jill
Gschwind, the County’s personnel director, that she purportedly informed the Warden of the
situation, that she advised him of the next steps in requesting FMLA leave, including asking
him to complete FMLA paperwork, and that his doctor subsequently extended his time away
from work. Doc. 26-6 at 2-3. The email’s statements are corroborated by Jill Gschwind,
who testified that she received the doctors’ notes; that she shared them with Warden Lowe;
that she left FMLA and short-term disability paperwork for Green to pick up “because he
advised me he was going to be out of work for some time”; and that Warden Lowe would
have been aware of the situation because she “always kept [his office] apprised” of FMLA
requests. Doc. 26-12 at 16-19. “Discrimination under the ADA encompasses not only
adverse actions motivated by prejudice and fear of disabilities, but also includes failing to
make reasonable accommodations for a plaintiff's disabilities.” Taylor, 184 F.3d at 313.
Thus, Green has established a prima facie case of ADA discrimination because there exist
genuine issues of fact as to whether the County had a record of his impairment or regarded

him as having an impairment, and whether the County failed to make a reasonable

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accommodation for Green’s impairment, but instead chose to terminate him shortly
thereafter.

In addition, the temporal proximity between the August 1 email and the McLaughlin
letter (dated August 6, 2014) constitutes circumstantial evidence that the County retaliated
against Green by recommending termination instead of providing the requested
accommodation. In the August 1 email, Green stated that he cannot appear for his two
scheduled Investigative Interviews due to doctor's orders, but he “shall be happy to
cooperate in any way possible to clear up these issues” after he returns from medical leave.
Id. at 3. Yet, the County proceeded to hold the scheduled Investigative Interview in
absentia, just five days after Green sent his email, and concluded that termination was
appropriate at the proceeding. Doc. 22-2.

In the ADA retaliation context, the “temporal proximity between the protected activity
and the termination [can be itself] sufficient to establish a causal link.” Shellenberger v.
Summit Bancorp, Inc., 318 F.3d 183, 189 (3d Cir. 2003) (quoting Woodson v. Scott Paper
Co., 109 F.3d 913, 920 (3d Cir.1997)). “The amount of time between the protected activity
and the alleged retaliation is a circumstance to be considered by a fact-finder in determining
if the plaintiff has established the required causation.” /d. It is also well-established that
‘[p]rohibited discrimination under the ADA includes retaliation against an employee for

requesting an accommodation.” Sulima v. Tobyhanna Army Depot, 602 F.3d 177, 188 (3d

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Cir. 2010). Thus, Green has made a prima facie case for his both his retaliation claim and
his discrimination claim under the ADA.

Having established that Green met his initial burden, the question becomes whether
summary judgment is warranted under the second and third steps of the McDonnell
Douglas framework. The County's main argument is that Green was terminated due to his
numerous absences and incidents of misconduct. See Doc. 22-2 at 1-3 (listing work
performance issues in Green's personnel file). However, assuming that the County has met
the second step of the framework by proffering legitimate, nondiscriminatory reasons for
Green’s termination, the motion for summary judgment would be defeated at the third step,
because the record raises triable issues of fact as to whether the County’s proffered
reasons should be credited.

As discussed above, Green has produced evidence of communications both from
him and his doctors to the County prior to the McLaughlin letter. These communications
were sent to the County within two weeks of when he was recommended for termination.
Compare Doc. 22-2 at 3 (McLaughlin letter, dated August 6, 2014) with Doc. 26-9 (Green's
first doctor’s note, dated July 25, 2014, stating that “pt is still very depressed [and] progress
is limited. Needs another 4 weeks off from work”). Given the timing of these events, the
Court finds it baffling that the County failed to address or even mention these
communications in its motion papers, and further failed to submit a reply brief that could

have addressed such communications.

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At the third step of the frame work, “the plaintiff need not also come forward with
additional evidence of discrimination beyond his or her prima facie case.” Fuentes, 32 F. 3d
at 764. This is especially true where, as here, the Defendant has wholly failed to address or
distinguish the evidence of retaliation and discrimination submitted by the Plaintiff. Besides
the August 1 email from Green and communications from his doctor, the McLaughlin letter
itself indicated that the County was aware of Green’s mental health issues. Doc. 22-2 at 3
(noting that “[Green] spoke with Facility Personnel Liaison Jill Gschwind and conveyed that
[he] didn’t know [he] had to file a report and stated that [he] didn't know how [he] could have
because [he] had a nervous breakdown.”). See also Doc. 26-12 at 16-18 (Jill Gschwind
testifying that she received the doctor's communications from Green and that she shared
them with the Warden). Thus, there is sufficient evidence that the County had knowledge of
Green's medical condition shortly before it recommended termination.

Furthermore, both the McLaughlin letter and the termination letter referenced the fact
that the bulk of Green's absences began on July 11, 2014, which began mere weeks before
he was recommended for termination. Doc. 22-2 at 3; Doc. 22-3 at 1. This timeline would
be consistent with Green’s explanation for his absences in the August 1 email, which
indicates he had notified the County of his doctor’s orders that he be placed on medical
leave starting on July 11, 2014. See Doc. 26-6 at 2 (“On 7/10/14 | did consult a specialist

who immediately placed me on medical leave for a period of two weeks. As a result | faxed

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in the doctor['s] order and did contact Jill Gschwind.... [she] informed me that she had
informed the Warden of the situation.”).

Nevertheless, the County argues that Green “never provided the medical proof for
the County to have evaluated whether it could accommodate his disability and whether he
even had a qualified disability under the ADA,” and that he also “failed to provide the County
with a completed request for FMLA leave.” Doc. 23 at 11. The County contends that
‘[t]hese deficiencies are fatal to his claim.” /d. But failure to formally notify the employer of
a disability with supporting “medical proof’ or failure to complete the proper paperwork are
not grounds to dismiss an ADA claim or an FMLA claim. Conneen v. MBNA Am. Bank,
N.A., 334 F.3d 318, 332 (3d Cir. 2003) (“The law does not require any formal mechanism or
‘magic words,’ to notify an employer such as MBNA that an employee needs an
accommodation.”) (citing Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 313 (3d Cir.1999);
Sarnowski v. Air Brooke Limousine, Inc., 510 F.3d 398, 402 (3d Cir. 2007) (stating that
under the FMLA, “[iJt is clear that an employee need not give his employer a formal written
request for anticipated leave. Simple verbal notification is sufficient.”

Furthermore, the temporal proximity between Green’s request for a leave of absence
and the recommendation for termination gives rise to an inference that the adverse
employment actions may have been motivated by discrimination. According to the
McLaughlin letter, it appears that the County had numerous documented incidents of work

misconduct by Green, starting from November 2012. Doc. 22-2 at 2 (listing incidents of

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poor work performance chronologically from November 20, 2012). Yet the County did not
terminate Green until a few weeks after Green’s email reflecting his request for a leave of
absence and FMLA benefits. Doc. 26-6, at 2-3 (August 1 email stating that Green had
faxed the doctor’s note to Jill Gschwind around July 10, 2014 and informed her of his intent
to take leave). See also Doc. 26-12 at 16-19 (Jill Gschwind testifying that she recalled
leaving FMLA and short-term disability paperwork for Green to pick up “because he advised
me he was going to be out of work for some time”). Five days after Green sent his email, he
was recommended for termination by McLaughlin, and approximately a month after that, he
was terminated. Doc. 22-2, 22-3. Thus, there is sufficient evidence to create an issue of
fact as to whether Green was terminated because of his request for an accommodation for
his depression. Therefore, Green’s retaliation claim, which is predicated on the same
documentary evidence and factual issues, is also entitled to proceed to trial. See Kessler v.
AT &T, 2015 WL 5598866, at *14 (M.D. Pa. Sept. 22, 2015) (“Because the adverse
employment actions alleged for [the retaliation] claim are the same as those alleged with
respect to Plaintiffs discrimination claim, the Court will not repeat its analysis of McDonnell
Douglas Steps Two and Three here. There remain disputes of fact as to whether the
alleged incidents of harassment were motivated by retaliatory intent.”).

Green has also brought claims for “unlawful discrimination and retaliation under the
Rehabilitation Act.” Doc. 141. The Third Circuit has explained that “the substantive

standards for determining liability under the Rehabilitation Act and the ADA are the same.”

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Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 275 (3d Cir. 2014) (quoting Ridley Sch.
Dist. v. M. R., 680 F.3d 260, 282-83 (3d Cir. 2012)). See also Macfarlan v. Ivy Hill SNF,
LLC, 675 F.3d 266, 274 (3d Cir. 2012) (“As an initial matter, we note that the Rehab Act,
ADA, and PHRA (‘the Acts’) are all to be interpreted consistently, and that all have the same
standard for determination of liability.”). Thus, for reasons set forth above in the analysis of
Green’s ADA and PHRA claims, the Rehabilitation Act claims cannot be resolved on
summary judgment because there are genuine issues of material fact as to whether the
County discriminated and retaliated against Green for requesting an accommodation.

Finally, Green has brought interference and retaliation claims under the FMLA based
on substantially the same set of underlying facts. The County’s motion papers do not
address the interference claim, thus, it appears that the County has not moved for summary
judgment on the claim. But even assuming that the County moves to dismiss both FMLA
claims, the motion would be defeated for substantially the same reasons set forth above in
the ADA discrimination and retaliation claims’ analysis.

“[Fliring an employee for a valid request for FMLA leave may constitute interference
with the employee's FMLA rights as well as retaliation against the employee.” Erdman v.
Nationwide Ins. Co., 582 F.3d 500, 509 (3d Cir. 2009). “The Third Circuit has largely
analyzed such claims under the retaliation framework, and has found that where a
retaliation claim based on a termination can survive summary judgment, an interference

claim based on the same facts also survives.” Sowell v. Kelly Servs., Inc., 139 F. Supp. 3d

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684, 694 (E.D. Pa. 2015) (citing Lichtenstein v. Univ. of Pittsburgh Med. Ctr., 691 F.3d 294,
312 (3d Cir. 2012). “To prevail on a retaliation claim under the FMLA, the plaintiff must
prove that (1) [he] invoked [his] right to FMLA-qualifying leave, (2) [he] suffered an adverse
employment decision, and (3) the adverse action was causally related to [his] invocation of
rights.” Lichtenstein, 691 F.3d at 301-02.

As discussed above, Green has presented evidence that undermines the County's
contention that it “never had notice that Green had decided to take FMLA leave.” Doc. 23 at
17. The August 1 email states that Jill Gschwind had informed Green to “come to the
Facility and retrieve FMLA and short term disability paperwork[,] which [he] did.” Doc. 26-6,
at 2. Additionally, Ms. Gschwind testified that she recalled leaving FMLA and short-term
disability paperwork for Green to pick up “because he advised me he was going to be out of
work for some time,” and that Warden Lowe would have been aware of Green’s request for
FMLA paperwork because she “always kept [his office] apprised” of FMLA requests. Yet,
Green was recommended for termination five days later, after an Investigative Interview
held in absentia due to his absence. For reasons stated above in the analysis of the ADA
and PHRA claims, a reasonable juror may infer, based on the temporal proximity between
Green’s request for FMLA benefits and the McLaughlin letter recommending termination,
that he was terminated for attempting to exercise his FMLA rights. Thus, Green’s FMLA

claims cannot be dismissed at this stage of the proceedings.

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IV. CONCLUSION
For the reasons outlined above, Pike County’s motion for summary judgment (Doc.

21) will be denied. A separate Order will follow.

obert B- Mariani
United States District Judge

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